
15 So.3d 907 (2009)
E.R., a Child, Appellant,
v.
STATE of Florida, Appellee.
No. 4D08-3650.
District Court of Appeal of Florida, Fourth District.
August 5, 2009.
Carey Haughwout, Public Defender, and Patrick B. Burke, Assistant Public Defender, West Palm Beach, for appellant.
Bill McCollum, Attorney General, Tallahassee, and Laura Fisher Zibura, Assistant Attorney General, West Palm Beach, for appellee.
PER CURIAM.
Following a disposition hearing, the trial judge adjudicated E.R. for her commission of the offense of battery. The Department of Juvenile Justice ("DJJ") prepared a Pre-Disposition Report in which it recommended that E.R. be placed on juvenile probation and participate in the "Re-directions program."
The trial court departed from DJJ's recommendation and instead placed E.R. in a low risk level 2 commitment program. Because the trial court's explanation for its departure from DJJ's assessment and recommendation is not in accordance with the required analysis set forth by the Florida Supreme Court in E.A.R. v. State, 4 So.3d 614 (Fla.2009), we must reverse the order appealed and remand the matter to the trial court so that it can either impose the probation recommended by DJJ or depart from DJJ's recommendation in accordance with E.A.R.
Reversed and remanded.
FARMER, HAZOURI and CIKLIN, JJ., concur.
